
600 S.E.2d 859 (2004)
STATE of North Carolina
v.
Larry Spencer HILL.
No. 249P04-2.
Supreme Court of North Carolina.
July 12, 2004.
Larry Spencer Hill, Pro Se.
*860 William P. Hart, Special Deputy Attorney General, Thomas J. Keith, District Attorney, for State.

ORDER
Upon consideration of the application filed by Defendant on the 6th day of July 2004 in this matter for Writ of Habeas Corpus Ad Testificandum, the following order was entered and is hereby certified to the Superior Court, Forsyth County:
"Denied by order of the Court in conference, this the 12th day of July 2004."
Upon consideration of the application filed by Defendant on the 6th day of July 2004 in this matter for Writ of Habeas Corpus (State Actions), the following order was entered and is hereby certified to the Superior Court, Forsyth County:
"Denied by order of the Court in conference, this the 12th day of July 2004."
